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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------X                       12/27/2019
                                                          :
MARSH AND MCLENNAN AGENCY LLC, :
                                                          :
                                        Plaintiff,        :
                                                          :       19-CV-3837 (VSB)
                      -against-                           :
                                                          :            ORDER
ELMER RICK FERGUSON,                                      :
                                                          :
                                        Defendant. :
                                                          :
----------------------------------------------------------X

VERNON S. BRODERICK, United States District Judge:

        On October 2 and 3, 2019, I held an evidentiary hearing on Plaintiff’s motion for a

preliminary injunction. On December 20, 2019, Plaintiff filed its supplemental materials in

further support of its motion on the electronic docket with certain exhibits omitted. (Docs. 103–

105). On December 21, 2019 at 1:19 a.m., Plaintiff submitted the omitted exhibits to my

chambers by e-mail, along with a request to file the exhibits under seal. On December 20, 2019,

Defendant filed his supplemental post-hearing submission. (Doc. 106.) As of the date of this

Order, Defendant has not objected to Plaintiff’s request to file materials under seal.

        Accordingly, it is hereby:

        ORDERED that Plaintiff’s request to file under seal Exhibits A, E, K, L, N, and O to the

Declaration of A. Michael Weber, and Exhibit E to the Declaration of William J. Peartree, is

GRANTED nunc pro tunc. Plaintiff shall file a full set of unredacted materials with the Sealed

Records Department of the Southern District of New York, in accordance with the Department’s

procedures, available at https://nysd.uscourts.gov/programs/records.

        IT IS FURTHER ORDERED that Plaintiff shall provide my chambers with two tabbed,
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unredacted courtesy copies of both parties’ supplemental submissions, Documents 103–106, by

January 10, 2019. In accordance with Rules 4E and 5B of my Individual Rules and Practices in

Civil Cases, any exhibits that have been redacted from the public filings shall be highlighted and

identified so that the court will know to refrain from quoting those passages in opinions and

orders.

          The Clerk of Court is directed to mail a copy of this order to the pro se Defendant.

SO ORDERED.

Dated: December 27, 2019
       New York, New York

                                                       ______________________
                                                       Vernon S. Broderick
                                                       United States District Judge
